       6:19-cv-01567-JD                   Date Filed 09/29/23     Entry Number 279           Page 1 of 1
AO 450 (Rev. 01/09) Judgment in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    District of South Carolina

EDEN ROGERS; BRANDY WELCH,                                              )        Case No.: 6:19-cv-01567-JD
                                                                        )
                             Plaintiff,                                 )
                   vs.                                                  )
                                                                        )
HENRY MCMASTER, in his official capacity as Governor of the             )
STATE OF SOUTH CAROLINA; and MICHAEL LEACH, in his                      )
official capacity as State Director for the SOUTH CAROLINA              )
DEPARTMENT OF SOCIAL SERVICES,                                          )
                                                                        )
                             Defendants.                                )


                                   SUMMARY JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

’ the plaintiff (name)__________________ recover from the defendant (name)______________ the amount of

___________dollars ($______), which includes prejudgment interest at the rate of _____%, plus postjudgment

interest at the date of _____%, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name) _______ recover

costs from the plaintiff (name)________________.

U other: Summary Judgment is entered for Defendants’, Henry Mcmaster, in His Official Capacity as Governor of
the State of South Carolina; and Michael Leach, in His Official Capacity as State Director for the South Carolina
Department of Social Services, and this case is dismissed.

This action was (check one):

’ tried by a jury with Judge______________presiding, and the jury has rendered a verdict.

’ tried by Judge______________without a jury and the above decision was reached.

U decided by the Honorable Joseph Dawson, III, United States District Judge, who grants Defendants’ Motion for
Summary Judgment.
                                                                      Robin L. Blume

                                                                      CLERK OF COURT

September 29, 2023                                              By: s/Leah Gibbons, Deputy Clerk
